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NOT FOR PUBLICATION

                                    UNlTED STATES DIS~RICT ctjuR.T
                                      ! DISTRICT OF NEW JERSEY
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ALEJANDRO MORALES, on behalf of
                                                                                                         I
                                                                                                         l


'himself and those similarly situ4ted,
                                                    Civil Action No. is-8401 (.$) (JAD)     1
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         Plaintiff,
                                                   ORDER GRANTtNG DEFSNDANT'S
 v.                                                      MOTIOlt TO SEAt


 HEALTHCARE REVENUE
 RECOVERY GROUP, LLC, et!al.,

         Defendants.


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         THIS MATTER having ¢ome before this Court on Defendant's H~althcare Retenue
                            '                            i          t        ' i
Recovery Group, LLC ("Defendanfs") Motion to Seal documents         fo~anOrder s~aling De~n+ant's
                                      ;                               t           i             ~    '
Reply Brief and Exhibits (ECF Noj 27); and it appearing that the exlibits cont~n inform~i~ that
                                      :                               ;           i         ~   f ;
is subject to State and/or Federal ~nfidentiality law, specifically, without limjtation,
                                      ~                                         !
                                                                                         id~dfying
                                                                                           ' t


information relating to Plaintiff; arid for good cause shown:

                                                                                 I .I
                                      !       '           1




                                      ! FINDINGS OF RlCT              i
      1. On September 26, 2016, Defendant filed a Motion to Dismi* Replybfl:f ("Repl)f')KECF
                                  ~                    ~         ~        t          ~  ~

         No. 27). Defendant's exhibits contained the following infodnation:
                                                                      i
                                      "                               t           t         , ;
      (a) A collection letter dated De4;ember 3, 2014 that lists the Plai~iffs "cli~ account •wtiber"
                                      '                   '           l           i         :   I
                                      ~                               ~   '      !          : t '.
         and the "creditor account nµmber", which are shielded fromJpublic disflosure putsuJ;uit to
                                                          ,:          ;           ~         ~   t:


         Fed. R. Civ. P. 5.2 (a).
                                                                      f
                                                                      ;
                                                                                  i
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                                                                                                '
                                                                                                }

                                      '                               '           '             i    .
      (b) HRRG's interrogatory answers that discuss confidential proprietary bufiness infohtittion,
                                                                                  $             i
                                                                                  f             ;

         trade secrets and other cothmercially sensitive :information. The int$-rogatory ianJ;wers
                                      ;                               ~
                                                                      f
                                                                                 l          '   1    '
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                                                                      ;           l
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                                          ,                                 .              .       .I
             were also recently designat+d as "Confidential" pursuant to fieDiscovctcy Confid~n-ality
                                          '                                 '              !            ;
                                          ·i'                   '           l~             '
                                                                                           1       I    I~
             Order signed by this Court   ~n    December 8, 2016:(ECF No. j4).             t


                                               CONCLUSIONS OF LAW
                                                                                           !       j.




             1. Confidential informatioh was filed in support of the D+fendant's       ·~econd ~ti~rt to
                                          .                                 I              i       . i
                Dismiss.                                                                   Il
                                                                                           t

             2. Federal Rules of Civil Procedure protect Plaintiffs firnhtcial acco'1n,t numbers :from
                                          :                                 i              ~       .    ,i


                public disclosure.
                                          t                                                '.
                                          l                                 ~    ,     i   l       ~    t
             3. Defendant has an intere~ in protecting its confidential intprrnation ~d if that Pfrt~ular
                                          ~                                 ~              i       ~    f ;
                information was to be r~leased to the general public its Itroprietary fnterests \lf01.ild be
                                          .                                 .              I       ' !
                                                                                           '
                harmed.
                                                                            ;               -           ~

             4. There are no less restriclive means available than the reli~f sought   hf Defendaht +s the   1

                                          r                                 ;              1       .'   ;
                Court has required that Defendant publicl~ file a redfted versiin of the rx~ibits
                                                                            }              .~           ~    .
                containing the confiden~al information.                                                 '
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             BASED UPON the foregoing' findings of fact and conclusiotis of law:
                          ~~         i                    '          :
             IT IS on thisO\ - dayofiDecember, 2016               · I
                                          '                                 t
                                          '                     ,•          !
                                          '                     .           I
             ORDERED that Defendanf s Motion to Seal is GRANTED; and
                                  :                             l        I
                                  ~                     ~       i        i
             IT IS FURTHER ORDEltED that the unredacted versionspfExhibinf A and B .

      of Defendant's Reply (ECF No.   27) shall remain sealed pursuant to L. Civ. R. ~.3 (c); and
                                        ;                     '           l          t          ;       !
             IT IS FURTHER ORDE~D that on or before December~' 2016, Dtfendants ~h~l file
                                          J                                 i              '       l    ¥
                                          ·.                                1              t       •    i
                                          ;                                 :              ff      j    l
      a publicly redacted version of Ex,ibits A and B (ECF No. 27) i~ which on\Y the confidf:Qtial
                                          1                     ·           '.             I       : l :
                                          ~                                 i              {       ~    ~

      information contained herein has b~en redacted; and                   j              }       l    j·




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                                  ~                            i         i          ~
     IT IS FURTHER ORDERED that the Court clarifies that *e Defendaht may not sinply
                                  '.                                     1          '




                      as they   pr~osed,
                                  :
                                         but instead ~dact only khe confid~ntial inf#tion
                                                     :          I         t          !
                                  '                  ;         l         1j         i
ntained in the exhibits.          '                  ·         1                    · '




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: Honorable Esther Salas, U.S.DJ.
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